      Case 3:17-cv-00561-WHO Document 381 Filed 01/22/19 Page 1 of 3



 1   DENISE M. MINGRONE (STATE BAR NO. 135224)
     dmingrone@orrick.com
 2   JARED BOBROW (STATE BAR NO. 133712)
     jbobrow@orrick.com
 3   ROBERT L. URIARTE (STATE BAR NO. 258274)
     ruriarte@orrick.com
 4   ORRICK, HERRINGTON & SUTCLIFFE LLP
     1000 Marsh Road
 5   Menlo Park, CA 94025-1015
     Telephone:     +1 650 614 7400
 6   Facsimile:     +1 650 614 7401

 7   CLAUDIA WILSON FROST (Pro Hac Vice)
     cfrost@orrick.com
 8   ORRICK, HERRINGTON & SUTCLIFFE LLP
     609 Main Street, 40th Floor
 9   Houston, TX 77002-3106
     Telephone:    +1 713- 658 6460
10   Facsimile:    +1 713 658 6401

11   Attorneys for Plaintiff/Counterdefendant
     SYNOPSYS, INC.
12
                                    UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                       SAN FRANCISCO DIVISION
15

16   SYNOPSYS, INC.,                              Case No. 3:17-cv-00561-WHO
17                     Plaintiff,                  NOTICE OF SETTLEMENT AND
                                                   ORDER
18          v.
19   UBIQUITI NETWORKS, INC., UBIQUITI         Date Action Filed: February 7, 2017
     NETWORKS INTERNATIONAL LIMITED,           Judge: Hon. William H. Orrick
20   CHING-HAN TSAI, and DOES 1-20, inclusive,
21   Defendants.
22
     AND RELATED COUNTERCLAIMS
23

24

25

26

27

28

                                                                          NOTICE OF SETTLEMENT
                                                                    CASE NO. 3:17-CV-00561-WHO
      Case 3:17-cv-00561-WHO Document 381 Filed 01/22/19 Page 2 of 3



 1          Plaintiff Synopsys, Inc. (“Synopsys”) together with defendants Ubiquiti Networks, Inc.,

 2   Ubiquiti Networks International Limited, and Ching-Han Tsai hereby report that the parties in this

 3   matter have reached a tentative settlement. In order to allow the preparation and execution of all

 4   settlement and related papers, the parties jointly request that the Court continue all dates set in this

 5   matter for a period of two (2) weeks from the date of this request or until January 31, 2019. Upon

 6   execution of the settlement and related documents, Synopsys will file a dismissal in this matter.

 7                                                       Respectfully submitted,

 8   Dated: January 17, 2019                             ORRICK, HERRINGTON & SUTCLIFFE LLP
 9

10                                                       By: /s/ Denise M. Mingrone
                                                                      DENISE MINGRONE
11                                                           Attorneys for Plaintiff/Counterdefendant
                                                                          Synopsys, Inc.
12

13   Dated: January 17, 2019                             MORRISON & FOERSTER LLP
14

15                                                       By: /s/ Wendy J. Ray
                                                                        WENDY J. RAY
16                                                                  Attorneys for Defendants
                                                                   Ubiquiti Networks, Inc. and
17                                                           Ubiquiti Networks International Limited
18
     Dated: January 17, 2019                             MURPHY COOKE KOBRICK LLP
19

20
                                                         By: /s/ Christopher C. Cooke
21                                                                 CHRISTOPHER C. COOKE
                                                                     Attorneys for Defendant
22                                                                       Ching-Han Tsai
23

24                           CIVIL LOCAL RULE 5-1(i)(3) ATTESTATION

25          I hereby attest that concurrence in the filing of this document has been obtained from each

26   of the other signatories hereto.

27   Dated: January 17, 2019                        By: /s/ Denise M. Mingrone
                                                       DENISE MINGRONE
28

                                                                                        NOTICE OF SETTLEMENT
                                                      -2-                       CASE NO. 3:17-CV-00561-WHO
      Case 3:17-cv-00561-WHO Document 381 Filed 01/22/19 Page 3 of 3



 1                          [PROPOSED] ORDER

 2        PURSUANT TO THE PARTIES’ NOTICE OF SETTLEMENT, ALL DATES IN THIS
 3   MATTER ARE HEREBY CONTINUED FOR A PERIOD OF TWO WEEKS. IT IS SO
 4   ORDERED.
 5
     DATED: ________________
             January 22, 2019                __________________________________
 6                                           WILLIAM H. ORRICK
 7                                           UNITED STATES DISTRICT JUDGE

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                                ORDER
                                                            CASE NO. 3:17-CV-00561-WHO
